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1.C1R.misT./nl\/.C01)E
TNW

2. PERSON REPRESENTED
Brown, Kenneth

 

VOUCHER NUMBER

 

 

3. MAG. DKT.!DEF. NUMBER 4. DlS'l`. DKT.!'DEF. NUMBER

2104-020140-007...»\,|

5. APPEALS DKT..'DEF. NUMBER 6. OT ¥LP`¢}`. HI_JM D'
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( _st ' 226 PH `. "‘36
U.S. v. Brown Felony Adult Dei`cndant Ci' marc g ’ ¢-

 

 

 

ii. OFFENSE(S) CH ARGED (Cite U.S. Code, 'l`itie & Seetion)

ifmnre than one oil`ense, list (up to livei major ol`i`mses charged. according tn severity oi' o|Tellse.

 

 

i) 13 924C.F -- VIOLENT CRiME/DRUGS/MACHINE GUN Lr_ I_' '_ ‘ ' "`» ij i"_
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iz. ATToRNt~;Y's NAME mmNam¢.M.l..LmNam»,lno..di..gmywmo \3. CouRT odom ivi-E"-l;r \-?-`D _ _":‘} ""\.f,u d
AND MAIL\NG -‘\DDRESS 0 Appointiog Connsel E] C Co-Couosel >-IH'{?\ il"`- iii _.=H:’;\.ipHi;)
LAURENZI, EUGENE i:i F Suha Fnr Federai Defender [] R Suhs For Re ai `e"d K}ttorne);' -
50 N Front Strcet i:] P Subs For PanelAttorney ij \' Standhy Counse|
S'Liiie 800 Prior Attnrney's Name:

MEMPHIS TN 38103

Teiephcme Number:

 

14. NA.ME AND MAiLlNG ADDRESS OF LAW FlRM (only provide per initruetions)
Alien, Godwin, Morris, Laurenzi P.C.
One Memphis Place
200 Jefferson Avenue
Suite 400
Memphis TN 38103

¥Beeause the above-named person represented has testified under oath or has
0

E {}ther [Se

 

 

otis ii " 7

CATEGORIES (At'tat:h itemization of services with dates)

 

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CLAlMED

  

 

Appointment Date'.

 

herwlse satisfied this court that he or she (i} is financially unable to employ counsel and
(l) does not wish to waive eounsel, and because the interests ofjustice so require tile
attorney whose name appears lo item ll is appointed to represent this person in this eare,

or /
1/ ¢/Jw 014/f
residing .iudiciai OliiceF or By Ot'der ofthe Court
07/')6/7005

Date ot'0rder Nune ProTune Date
Repayment or partial repayment ordered from the person represented for this service at
time ot'appointment. YES

n'structions)

Signature o

RS TOTAL MA'I`|~UTECH
ADJU STED
CLAIMED HOURS

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15. a. Arraignment and.'or Plea

 

b. Bai| and Detention Hearings

 

 

e. Motion Hearings

 

d. Trial

 

e. Sentenclng Hearings

 

f, Revocation Hearings

 

.»~¢l:::[°) =-'

g. Appeals Court

 

h. Otiier (Specii'y on additional sheets)

 

(Rate per hour = S ) TOTALS:

 

 

 

 

a. interviews and Coni'erences

 

 

b. Obtaining and reviewing records

 

e. Legal research and brief writing

 

d. Travel time

 

e. investigative and Other work (spe¢ify on mouton-1 mem

 

-i-¢:¢(j no -»SO 5

 

(Rate per hour == $ ) TOTALS:

 

Travei Expenses (lndging, parking1 meals, mileage, ete.)

 

 

Other Expenses (other than expert, traneerlpo, ecc.)

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

19. CERT\F|CA'“ON OF ATTORNEY[PAYEE FOR THE PERIOD OF SERWCE 20. APPO|NTMENT TERMINATION DATE 2]. CASE DISPO SlTiON
lF OTH ER T“AN CASE COMPLET]ON
FRUM TO
22. C LAIM STATUS [i Final Payment l:i interim i’aymeut Numher _____ I:i Supplemental Payment
Have you previously applied to the court fir compensation and/or remimhursement for this cese'.' [i YES Ci NO ll' yes. were you paid',' [i YES [:i NO

Otlser than from the coun‘ have you, or toyour knowledge has anyone elle, received payment (cornpensation or anything or value] from any other source in connection with this

representation? YES N() il'yet. give details on additional sheets.
i swear or affirm the truth or correctness otthe above statements

 

Siguonare of Attorney:

 

 

 

23. iN COURT COMP.

 

  
 
 

 
 

I'.|. TOTAL AMT. APPR."CERT

 

 

28. SiGNATURE OF THE PRESIDING JUDICIAL ()FFICER

DATE 2iia. JUDGEIMAG. JUDGE CODE

 

29. i.\i COURT COMP. 30. OUT CF COURT COMP. 31.

 

 

 

TR.AVEL EXPENSES

32. OTHER EXPENSES 33. TOTAL AMT.APPttovF.n

 

34. SiGNATURE OF Ci'l]EF JUDGE. COURT OF APP EALS (OR DELEGATE) Paymen\

approved in excess oi`the statutory/threshold amouot.

DATE 34\1. .JUDGECODE

 

 

 

 

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with Fiuie 55 and/or 32(b) FFlCrP on " *

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Honorablc J on McCalla
US DISTRICT COURT

